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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-2(c)

     D AY P I T N E Y L L P
     One Jefferson Road
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     (973) 966-6300
     Attorneys for Creditor
     Gotham Technology Group, LLC
                                                          Chapter 11
     In re:
                                                          Case No. 23-13359 (VFP)
     BED BATH & BEYOND INC., et al.
                                                          Hearing Date: July 11, 2023
                       Debtors.


      NOTICE OF MOTION OF GOTHAM TECHNOLOGY GROUP, LLC (I) TO SET AN
       IMMEDIATE DEADLINE FOR DEBTOR TO ASSUME OR REJECT EXECUTORY
         CONTRACT, (II) TO COMPEL PAYMENT OF RELATED CURE COSTS OR
      ADMINISTATIVE CLAIMS, OR, IN THE ALTERNATIVE, (III) FOR RELIEF FROM
                             THE AUTOMATIC STAY

                  PLEASE TAKE NOTICE that creditor Gotham Technology Group, LLC (“Gotham”),

    by and through its undersigned counsel, will move before the Honorable Vincent F. Papalia on

    July 11, 2023, or as soon thereafter as counsel may be heard, at the United States Bankruptcy

    Court for the District of New Jersey, 50 Walnut Street, Courtroom 3B, Newark, New Jersey

    07102, for entry of an Order (1) setting a deadline of July 12, 2023 for the Debtor to assume or

    reject an executory contract with Gotham pursuant to 11 U.S.C. § 365(d)(2); and (2) requiring the

    Debtor to pay the related unpaid license payments either as cure amounts due in connection with

    the assumption of the contract or as post-petition administrative expenses. In the alternative,

    Gotham seeks relief from the automatic stay to allow Gotham to terminate the contract and the

    underlying software license agreement pursuant to 11 U.S.C. § 362(d) (the “Motion”).




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                  PLEASE TAKE FURTHER NOTICE that in support of the Motion, Gotham shall rely

    on the accompanying Motion and Certification of Kenneth W. Phelan with Exhibits, which

    collectively set forth the factual and legal bases upon which the requested relief should be

    granted. Pursuant to D.N.J LBR 9013-1, a memorandum of law is unnecessary because the legal

    grounds for the requested relief are straightforward and well-settled.

                  PLEASE TAKE FURTHER NOTICE that on the aforementioned date, Gotham will

    request that the Court enter the proposed Order submitted herewith.

                  PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in

    the Motion shall be presented in accordance with the Federal Rules of Bankruptcy Procedure and

    the Local Rules of the United States Bankruptcy Court for the District of New Jersey.

                  PLEASE TAKE FURTHER NOTICE that unless objections are timely presented, the

    Motion shall be deemed uncontested in accordance with D.N.J. LBR 9013-1(a).

                  PLEASE TAKE FURTHER NOTICE that the undersigned hereby requests oral

    argument if timely objection is filed.



         Date: June 20, 2023                            /s/ Stephen R. Catanzaro
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                                                        Attorneys For Creditor
                                                        Gotham Technology Group, LLC




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